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     District of Arizona
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     New York State Bar # 4823373
 5   Asst. Federal Public Defender
     Attorney for Defendant
 6   jami_johnson@fd.org
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                                  DISTRICT OF ARIZONA
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10                                                     No. CR-20-00634-PHX-DWL
11   United States of America,                     MOTION TO EXTEND TIME TO
                                                    FILE PRETRIAL MOTIONS
12                 Plaintiff,                                AND
                                                   MOTION TO CONTINUE TRIAL
13         vs.
                                                               (Fifth Request)
14   Jill Marie Jones,
15                 Defendant.                             Trial set August 3, 2021
16
17         Defendant Jill Marie Jones, through undersigned counsel, respectfully
18   requests that this Court extend the time for filing of pretrial motions for a period of
19   at least sixty (60) days from the current date of June 22, 2021. In addition,
20   defendant requests that the Court continue the trial date for a period of at least sixty
21   (60) days from the current date of August 3, 2021.
22         These continuances are necessary because counsel recently received a large
23   volume of discovery which counsel needs the chance to review. Counsel is
24   additional awaiting unredacted copies of certain of the discovery which is
25
     necessary to understand the context of the documents and which counsel first
26
     requested months ago but which have yet to be produced.
27
           Defense counsel contacted Assistant United States Attorney Lisa Jennis,
28
     who advised that the United States has no objection.
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 1         Excludable delay under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv) may result
 2   from this motion or from an order based thereon.
 3               Respectfully submitted: June 14, 2021
 4
                                          JON M. SANDS
 5                                        Federal Public Defender
 6
                                           s/Jami Johnson
 7                                        JAMI JOHNSON
 8                                        Asst. Federal Public Defender
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